                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                   No. CR01-4074-MWB
 vs.                                            MEMORANDUM OPINION AND
                                                     ORDER REGARDING
 RENEE CARLSON,                               DEFENDANT’S MOTION UNDER 28
                                                U.S.C. § 2255 TO VACATE, SET
                Defendant.                     ASIDE OR CORRECT SENTENCE
                                   ____________________


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             his matter comes before the court pursuant to defendant Renee Carlson’s July
             7, 2003, pro se Motion To Vacate, Set Aside, Or Correct Sentence pursuant
to 28 U.S.C. § 2255 (Doc. No. 114). In her motion, Carlson seeks relief from her
sentence to 120 months of imprisonment on a charge of conspiracy to distribute 500 grams
or more of a mixture or substance containing a detectable amount of methamphetamine,
based on her allegations that her guilty plea was not entered into knowingly and voluntarily
and that her counsel was ineffective in numerous aspects. The court is now ready to make
a determination on the merits of the defendant’s motion.


                                  I. INTRODUCTION
                       A. Charges, Conviction, And Sentencing
       In an Indictment handed down on August 23, 2001, defendant Carlson was charged
with conspiracy to distribute 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, in violation of 21 U.S.C. § 846. Thereafter, on
March 1, 2002, Carlson pleaded guilty to the charge before United States Magistrate Judge
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Paul A. Zoss. During the plea hearing, Judge Zoss placed the defendant under oath. He
informed the defendant, in open court as follows:
                     You’re now under oath, and you should answer my
              questions truthfully because if you do not, you could be
              prosecuted for perjury or for making false statements under
              oath in court. But also if you can’t answer these questions
              truthfully you probably shouldn’t be pleading guilty.


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         Carlson’s plea was taken simultaneously with her husband’s plea, who was charged
in the same matter. However, Judge Zoss posed his questions to each defendant separately
and elicited separate responses. Accordingly, this opinion only refers to the parts of the
plea hearing in which Renee Carlson’s plea was at issue.

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              Understand that although you said you want to plead guilty,
              although you’ve come to court here today to plead guilty, you
              haven’t done that yet. And you can change your mind. As we
              go through this hearing and in this proceeding, if you do
              change your mind, if you suddenly decide, hey, this is not
              what I want to do, just let me know, and we’ll promptly
              adjourn the plea hearing for whoever says that and get your
              case scheduled for trial again.
Unedited Real Time Transcript of Plea Hearing, at 2-4. Carlson acknowledged that she
understood and indicated she would let Judge Zoss know if, at anytime, she decided she
did not wish to plead guilty or continue with the proceeding. Id. at 5. Judge Zoss then
asked a number of questions to ensure Carlson’s mental capacity. Id. at 7-10. From this
extensive inquiry, Judge Zoss determined Carlson was not suffering from any mental
disability that would impair her ability to make a knowing, intelligent and voluntary plea
of guilty to the charge against her. Id. at 10. Judge Zoss then proceeded with the plea
hearing by reading the Indictment. Id. at 10-11. Carlson acknowledged she had fully
discussed the charge with her attorney and stated she understood the charge. Id. at 11.
Judge Zoss then summarized the charge against Carlson, and listed the elements of the
crime. Id. at 13-20. Carlson, still under oath, indicated she understood each and every
element the government would be required to prove at trial and readily admitted to her
involvement in the conspiracy. Id. Accordingly, Judge Zoss determined a factual basis
for her plea existed. Id. at 20.
       Next, Judge Zoss advised Carlson of the consequences of her plea, including the
maximum fine, the maximum term of imprisonment, the mandatory minimum term of
imprisonment and the possibility that restitution could be ordered. Id. at 21-22. She was
also advised that she would have to pay a $100 special assessment. Id. Further, Carlson
was advised that after her plea was accepted, she would have no right to withdraw the plea


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at a later date, even if the sentence imposed or the United States Sentencing Guidelines
were applied other than she or her counsel had anticipated. Id. at 27. Specifically, Judge
Zoss stated:
               You should understand that if you plead guilty here today the
               issue of whether you’re guilty or not is over with. You can’t
               plead guilty and then go to the sentencing hearing and argue
               you’re not really guilty. You can submit evidence on
               sentencing issues, but that’s all. You won’t be able to argue
               that you’re not guilty. If you plead guilty here today, the issue
               of your guilt will be over with, and you won’t be able to
               withdraw your plea because you don’t like what happens at the
               sentencing hearing. You’ll be stuck with your plea of guilty.
               So don’t plead guilty unless you’re absolutely certain it’s what
               you want to do.
Id. Carlson indicated she understood all of the above consequences. See id. Finally, after
advising Carlson that she would be giving up her right to trial by jury by pleading guilty,
Judge Zoss engaged the defendant in the following series of questions:
               THE COURT:           Mrs. Carlson, did anybody promise you
                                    anything to get you to plead guilty?
               CARLSON:             No, sir.
               THE COURT:           Did anyone promise you what your
                                    sentence will be?
               CARLSON:             No, sir.
               THE COURT:           Is your decision to plead guilty the result
                                    of any threats, force, or pressure?
               CARLSON:             No, sir.
Id. at 41. Following this line of questioning, Carlson stated she still wished to plead guilty
and entered her plea accordingly. Id. at 43.
       Following the plea hearing, Judge Zoss issued a Report and Recommendation
recommending acceptance of Carlson’s guilty plea, on March 1, 2002. On March 29,
2002, the undersigned accepted Judge Zoss’s Report and Recommendation, to which no

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objections had been filed. At a sentencing hearing held May 28, 2002, the undersigned
sentenced Carlson to 120 months of imprisonment. After pronouncing sentence, the
undersigned informed Carlson of her right to appeal the sentence. Specifically, Carlson
was advised as follows:
                     You have a right to appeal the sentence that I’ve
              imposed. If you decide to appeal, you need to file a notice of
              appeal with the clerk of our court within ten days from today’s
              date. If you can’t afford to pay for a lawyer or pay for the
              costs of an appeal, those costs will be paid on your behalf.
Unedited Real Time Sentencing Transcript, at 3. Carlson did not file an appeal, and
instead, chose to file the current motion pending before the court.


                           B. The Motion To Vacate Sentence
       On July 7, 2003, Carlson filed a pro se Motion To Vacate, Set Aside, Or Correct
Sentence (Doc. No. 114). Carlson did not submit a corresponding brief. In Carlson’s
Motion Under 28 U.S.C. § 2255, she asserted the following grounds for relief: (1) she
was induced into pleading guilty by her attorney; (2) she was coerced to say things against
herself that led to self-incrimination; (3) the prosecution failed to disclose the evidence
against her; and (4) ineffective assistance of counsel based on her attorney’s coercive
efforts that induced her to plead guilty, his failure to inform her of her right to appeal, and
his failure to ensure she was issued her Miranda rights. Unfortunately, following the filing
of her Motion Under 28 U.S.C. § 2255, this matter languished while this court was
involved in the resolution of two complicated federal death penalty cases, which required
extensive written rulings on numerous issues pre-trial, during trial, and post-trial.
However, the court has now returned its attention to matters that were put on hold while




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the court cleared its docket of criminal trials with speedy trial deadlines and other more
urgent matters, and the court will now consider the merits of Carlson’s claims.


                                II. LEGAL ANALYSIS
                       A. Standards For Relief Pursuant To § 2255
       1.     Relief on the merits of the claims
       The court must first consider the standards applicable to a motion for relief from
sentence pursuant to 28 U.S.C. § 2255. Section 2255 of Title 28 of the United States Code
provides as follows:
                     A prisoner in custody under sentence of a court
              established by Act of Congress claiming the right to be
              released upon the ground [1] that the sentence was imposed in
              violation of the Constitution or laws of the United States, or
              [2] that the court was without jurisdiction to impose such
              sentence, or [3] that the sentence was in excess of the
              maximum authorized by law, or [4] is otherwise subject to
              collateral attack, may move the court which imposed the
              sentence to vacate, set aside or correct the sentence.
28 U.S.C. § 2255; Bear Stops v. United States, 339 F.3d 777, 781 (8th Cir. 2003) (“To
prevail on a § 2255 motion, the petitioner must demonstrate a violation of the Constitution
or the laws of the United States.”). Thus, a motion pursuant to § 2255 “is ‘intended to
afford federal prisoners a remedy identical in scope to federal habeas corpus.’” United
States v. Wilson, 997 F.2d 429, 431 (8th Cir. 1993) (quoting Davis v. United States, 417
U.S. 333, 343 (1974)); accord Auman v. United States, 67 F.3d 157, 161 (8th Cir. 1995)
(quoting Wilson). On the other hand,
                    Section 2255 relief is not available to correct errors
              which could have been raised at trial or on direct appeal,
              absent a showing of cause and prejudice, United States v.
              Frady, 456 U.S. 152, 167-68, 102 S. Ct. 1584, 1594-95, 71

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              L. Ed. 2d 816 (1982), or a showing that the alleged errors
              were fundamental defects resulting in a complete miscarriage
              of justice. See United States v. Smith, 843 F.2d 1148, 1149
              (8th Cir. 1988) (per curiam).
Ramey v. United States, 8 F.3d 1313, 1314 (8th Cir. 1993) (per curiam); accord Johnson
v. United States, 278 F.3d 839, 844 (8th Cir. 2002) (“In order to obtain collateral review
of a procedurally defaulted issue, [a § 2255 movant] must show ‘either cause and actual
prejudice, or that he is actually innocent.’”) (quoting Bousley v. United States, 523 U.S.
614, 622 (1998), with citations omitted).
       The “cause and prejudice” that must be shown to resuscitate a procedurally
defaulted claim may include “ineffective assistance of counsel.” See Becht v. United
States, 403 F.3d 541, 545 (8th Cir. 2005). Otherwise, “[t]he Supreme Court recognized
in Bousley that ‘a claim that “is so novel that its legal basis is not reasonably available to
counsel” may constitute cause for a procedural default.’” United States v. Moss, 252 F.3d
993, 1001 (8th Cir. 2001) (quoting Bousley, 523 U.S. at 622, with emphasis added, in turn
quoting Reed v. Ross, 468 U.S. 1, 16 (1984)), cert. denied, 534 U.S. 1097 (2002).
“Actual prejudice” requires a showing that the alleged error “‘worked to his actual and
substantial disadvantage, infecting his entire trial with error of constitutional dimensions.’”
Johnson, 278 F.3d at 844 (quoting United States v. Frady, 456 U.S. 152, 170 (1981), and
explaining, further, that the movant must show that there is a substantial likelihood that,
absent the error, a jury would have acquitted him of the charged offense). To establish
“actual innocence,” as an alternative way to resuscitate a procedurally defaulted claim,
“‘petitioner must demonstrate that, in light of all the evidence, it is more likely than not
that no reasonable juror would have convicted him.’” Id. (quoting Bousley, 523 U.S. at
623). “‘This is a strict standard; generally, a petitioner cannot show actual innocence



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where the evidence is sufficient to support a [conviction on the charged offense].’” Id.
(quoting McNeal v. United States, 249 F.3d 747, 749-50 (8th Cir. 2001)).
       The Eighth Circuit Court of Appeals will review the district court’s decision on a
§ 2255 motion de novo, regardless of whether the district court’s decision grants or denies
the requested relief. Compare United States v. Hilliard, 392 F.3d 981, 986 (8th Cir.
2004) (“We review the district court’s decision to grant or deny relief on a petitioner’s
ineffective assistance of counsel claim de novo.”) (citing United States v. White, 341 F.3d
673, 677 (8th Cir. 2003)); with United States v. Hernandez, 436 F.3d 851, 854 (8th Cir.
2006) (“‘We review de novo the district court’s denial of a section 2255 motion.’”)
(quoting Never Misses A Shot v. United States, 413 F.3d 781, 783 (8th Cir. 2005)).
However, “[a]ny underlying fact-findings are reviewed for clear error.’” Hernandez, 436
F.3d at 855 (quoting United States v. Davis, 406 F.3d 505, 508 (8th Cir. 2005)).
       2.     Entitlement to an evidentiary hearing
       As the Eighth Circuit Court of Appeals recently explained,
                      A petitioner is entitled to an evidentiary hearing on a
              § 2255 motion unless “the motion and the files and the records
              of the case conclusively show that [he] is entitled to no relief.”
              28 U.S.C. § 2255. We review the district court’s decision not
              to hold an evidentiary hearing for an abuse of discretion.
              Saunders v. United States, 236 F.3d 950, 952 (8th Cir. 2001).
              “That standard is somewhat misleading, however, because
              review of the determination that no hearing was required
              obligates us to look behind that discretionary decision to the
              court’s rejection of the claim on its merits, which is a legal
              conclusion that we review de novo.” Id. Therefore, in order
              to determine if [a movant under § 2255] is entitled to remand
              for an evidentiary hearing, we must consider the validity of his
              [claim for § 2255 relief]. Id.




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United States v. Ledezma-Rodriguez, 423 F.3d 830, 835-36 (8th Cir. 2005). More
specifically, “A district court does not err in dismissing a movant’s section 2255 motion
without a hearing if (1) the movant’s ‘allegations, accepted as true, would not entitle’ the
movant to relief, or ‘(2) the allegations cannot be accepted as true because they are
contradicted by the record, inherently incredible, or conclusions rather than statements of
fact.’” Buster v. United States, 447 F.3d 1130, 1132 (8th Cir. 2006) (quoting Sanders v.
United States, 341 F.3d 720, 722 (8th Cir. 2003), with citation and quotation marks
omitted). “In some cases, the clarity of the existing record on appeal makes an evidentiary
hearing unnecessary, [but] [a]bsent such clarity, an evidentiary hearing is required.”
Latorre v. United States, 193 F.3d 1035, 1038 (8th Cir. 1999). At the evidentiary
hearing, if one is required, the defendant must establish that, “in light of all the evidence,
it is more likely than not that no reasonable juror would have convicted him.” Bousley,
523 U.S. at 623; accord Latorre, 193 F.3d at 1038 (quoting this standard from Bousley).
       In this case, the court concludes that no evidentiary hearing is required on any issue,
because the record “conclusively show[s] that [Carlson] is entitled to no relief” on any of
her claims, as the court will explain in more detail below. 28 U.S.C. § 2255; Ledezma-
Rodriguez, 423 F.3d at 835-36.


                           B. Voluntariness Of Carlson’s Plea
       The first two of Carlson’s claims are primarily attacks on the voluntariness of her
plea. At the outset, it is important to note that these claims are likely precluded from
§ 2255 review by virtue of the fact Carlson failed to raise these claims on direct appeal.
See Ramey, 8 F.3d at 1314 (noting that Section 2255 relief is not available to correct errors
which could have been raised at trial or on direct appeal, absent a showing of cause and
prejudice). However, because she attacks the voluntariness of her plea, the court will

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proceed to address the merits of Carlson’s claims. See id. (noting that § 2255 relief may
be available where the alleged errors were fundamental defects resulting in a complete
miscarriage of justice).
       Without doubt, to be constitutionally valid, a guilty plea must be knowing,
voluntary, and intelligent, and because a guilty plea constitutes a waiver of various
constitutional rights, it must be made with sufficient awareness of relevant circumstances
and likely consequences. See, e.g., United States v. Martinez-Cruz, 186 F.3d 1102, 1104
(8th Cir. 1999). The Eighth Circuit Court of Appeals has recognized that a plea agreement
may not be knowing and voluntary when it is the result of the ineffective assistance of
counsel. See DeRoo v. United States, 223 F.3d 919, 923-24 (8th Cir. 2000). At the same
time, a defendant’s representations during plea-taking, such as those concerning the
voluntariness of the plea, carry a strong presumption of verity. Nguyen v. United States,
114 F.3d 699, 703 (8th Cir. 1997). Moreover, allegations that counsel misled a defendant
into accepting a plea agreement are insufficient to justify withdrawal of the defendant’s
guilty plea as involuntary, where the court correctly informed the defendant during the plea
hearing. See United States v. Granados, 168 F.3d 343, 345 (8th Cir. 1999) (per curiam)
(the defendant’s reliance on an attorney’s mistaken impression about the possible length
of sentence was insufficient to render a plea involuntary as long as the court informed the
defendant of the maximum possible sentence).
       Carlson claims first that her plea was the product of coercion. She next claims she
was forced to incriminate herself, presumably by admitting to her involvement in the
conspiracy during her plea hearing. The record plainly does not support either of
Carlson’s claims. First, Carlson was repeatedly advised during the plea hearing that she
had a right to stop the plea proceedings and proceed to trial if she decided she no longer
wished to enter a plea of guilty to the charge in the Indictment. She was further advised

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that she should not lie while under oath, and that if she felt she had to lie to plead guilty
that she should not be entering such a plea. Carlson indicated her understanding of these
facts on the record and there is no evidence of any remotely coercive statements made by
the court or her attorney. Despite the court’s admonitions about the consequences of
pleading guilty, the record indicates Carlson wished to proceed with her guilty plea.
Moreover, Judge Zoss questioned Carlson directly regarding whether her plea was the
product of undue threats, force or pressure, to which Carlson stated it was not. Thus, the
record unequivocally demonstrates her plea was voluntary. Had Carlson’s attorney
“coerced” her to plead guilty, as she contends in her motion, Carlson had every
opportunity during her plea hearing to indicate as such. She did not and, instead, chose
to admit to each and every element of the offense and supplied the court with a factual
basis for plea, all while under oath. See Nguyen, 114 F.3d at 703 (representations by a
defendant at a plea-taking carry a strong presumption of verity). For these reasons, the
court finds Carlson’s plea was entered into voluntarily.
       In addition, with respect to her second contention, it is obvious Carlson
misinterprets the scope of her right to not incriminate herself. By virtue of her decision
to plead guilty, Carlson voluntarily waived this privilege with respect to the criminal
conduct alleged in the Indictment. See Parke v. Raley, 506 U.S. 20, 29 (1992) (“[A]
guilty plea constitutes a waiver of three constitutional rights: the right to a jury trial, the
right to confront one’s accusers, and the privilege against self-incrimination.”) (citing
Boykin v. Alabama, 395 U.S. 238, 243 (1969)). Carlson does not contend she was forced
to admit to other, unrelated criminal conduct outside the scope of the plea hearing and she
can point to no involuntary statements that were subsequently used against her, outside of
the context of her guilty plea. Consequently, she is entitled to no relief on either of her



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claims because her plea was clearly voluntary, as discussed above, and her claim for relief,
with respect to these grounds, is hereby denied.


                              C. Failure To Disclose Evidence
       The defendant next contends the government failed to disclose the evidence against
her because she never personally viewed the evidence. This contention is wholly without
merit. First, and foremost, Carlson gave up the right to be shown the evidence against her
when she decided to plead guilty and forego trial. See id. The court adequately explained
this fact to the defendant during the plea hearing. Furthermore, based on a reading of the
plea hearing transcript, it is clear the discovery file was available for perusal to Carlson’s
counsel. This is all that is required of the government. The fact that the defendant did not
personally view the file is of no consequence. Accordingly, the defendant’s contention on
this ground is also denied.


                          D. Ineffective Assistance Of Counsel
       Finally, Carlson alleges her attorney was ineffective in numerous respects. The
Sixth Amendment to the United States Constitution provides that “[i]n all criminal
prosecutions, the accused shall enjoy the right . . . to have the Assistance of Counsel for
his defense.” U.S. Const. amend. VI. Thus, a criminal defendant is constitutionally
entitled to the effective assistance of counsel both at trial and on direct appeal. Evitts v.
Lucey, 469 U.S. 387, 396 (1985); Bear Stops v. United States, 339 F.3d 777, 780 (8th
Cir. 2003). By the same token, “ineffective assistance of counsel” could result in the
imposition of a sentence in violation of the Constitution or laws of the United States. 28
U.S.C. § 2255; Bear Stops, 339 F.3d at 781 (“To prevail on a § 2255 motion, the
petitioner must demonstrate a violation of the Constitution or the laws of the United

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States.”). The Eighth Circuit Court of Appeals has expressly recognized that a claim of
ineffective assistance of counsel should be raised in a § 2255 proceeding, rather than on
direct appeal, because it often involves facts outside of the original record. See United
States v. Hughes, 330 F.3d 1068, 1069 (8th Cir. 2003) (“When claims of ineffective
assistance of trial counsel are asserted on direct appeal, we ordinarily defer them to 28
U.S.C. § 2255 proceedings.”). Thus, whether or not Carlson is entitled to relief on her
§ 2255 motion on this ground turns on whether or not she can satisfy the standards
applicable to her “ineffective assistance” claims.
       1.     Applicable standards
       As the Eighth Circuit Court of Appeals has explained, “‘The applicable law here
is well-established: post-conviction relief will not be granted on a claim of ineffective
assistance of trial counsel unless the petitioner can show not only that counsel’s
performance was deficient but also that such deficient performance prejudiced his
defense.’” United States v. Ledezma-Rodriguez, 423 F.3d 830, 836 (8th Cir. 2005)
(quoting Saunders v. United States, 236 F.3d 950, 952 (8th Cir. 2001), in turn citing
Strickland v. Washington, 466 U.S. 668, 687 (1984)); Davis v. Norris, 423 F.3d 868, 877
(8th Cir. 2005) (“To prove that his counsel rendered ineffective assistance in violation of
the Sixth Amendment, [the movant] must satisfy the two prong test outlined in Strickland
v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984),” which requires
the movant to “show that his counsel’s performance was deficient” and that he was
“prejudice[d]”).
       The “deficient performance” prong requires the movant to “show that his ‘counsel
made errors so serious that counsel was not functioning as the “counsel” guaranteed the
defendant by the Sixth Amendment.’” United States v. Rice, 449 F.3d 887, 897 (8th Cir.
2006) (quoting Strickland, 466 U.S. at 687). That showing can be made by demonstrating

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that counsel’s performance “‘fell below an objective standard of reasonableness.’” Wiggins
v. Smith, 539 U.S. 510, 522 (2003) (quoting Strickland, 466 U.S. at 688). There are two
substantial impediments to making such a showing, however. First, “‘[s]trategic choices
made after thorough investigation of law and facts relevant to plausible options are
virtually unchallengeable.’” Rice, 449 F.3d at 897 (quoting Strickland, 466 U.S. at 690).
Second, “[t]here is a ‘strong presumption that counsel’s conduct falls within the wide range
of reasonable professional assistance.’” Id. (quoting Strickland, 466 U.S. at 689); Davis,
423 F.3d at 877 (“To satisfy this prong [the movant] must overcome the strong
presumption that his counsel’s conduct fell within the wide range of reasonable
professional assistance.”). If the movant fails to show deficient performance by counsel,
the court need proceed no further in its analysis of an “ineffective assistance” claim.
United States v. Walker, 324 F.3d 1032, 1040 (8th Cir. 2003).
       Even if counsel’s performance was deficient, the movant must also establish
“prejudice” to overcome the presumption of reasonable professional assistance. Ledezma-
Rodriguez, 423 F.3d at 836; Davis, 423 F.3d at 877. To satisfy this “prejudice” prong,
the movant must show “‘that there is a reasonable probability that, but for counsel’s
unprofessional errors, the result of the proceeding would have been different . . . [,] a
reasonable probability [meaning] a probability sufficient to undermine confidence in the
outcome.’” Rice, 449 F.3d at 897 (again quoting Strickland, 466 U.S. at 694); Davis, 423
F.3d at 877 (same). Thus, “‘[i]t is not enough for the defendant to show that the errors
had some conceivable effect on the outcome of the proceeding.’” Pfau v. Ault, 409 F.3d
933, 939 (8th Cir. 2005) (quoting Strickland, 466 U.S. at 693). Although the two prongs
of the “ineffective assistance” analysis are described as sequential, courts “do not . . .
need to address the performance prong if petitioner does not affirmatively prove



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prejudice.” Boysiewick v. Schriro, 179 F.3d 616, 620 (8th Cir. 1999) (citing Pryor v.
Norris, 103 F.3d 710 (8th Cir. 1997).
       2.     The “ineffective assistance” at issue here
              a.     Failure to prepare Carlson for her guilty plea
       Carlson alleges, first, that her counsel was ineffective in preparing her for her guilty
plea and that, as a result, her guilty plea was not knowing and voluntary. In support of
this contention, Carlson contends that all her counsel did was coerce her into pleading
guilty. However, Carlson does not allege how she was “coerced” or relay any specific
statements indicative of coercion allegedly made by her attorney. Although this claim is
vague and lacking in evidentiary support, the court will proceed to briefly address the
merits of Carlson’s contentions.
       As mentioned previously, to be constitutionally valid, a guilty plea must be
knowing, voluntary, and intelligent, and because a guilty plea constitutes a waiver of
various constitutional rights, it must be made with sufficient awareness of relevant
circumstances and likely consequences. See, e.g., United States v. Martinez-Cruz, 186
F.3d 1102, 1104 (8th Cir. 1999). However, allegations that counsel misled a defendant
into accepting a plea agreement by misleading the defendant about the consequences of a
plea are insufficient to justify withdrawal of the defendant’s guilty plea as involuntary,
where the court has informed the defendant of the correct ramifications. See, e.g., United
States v. Granados, 168 F.3d 343, 345 (8th Cir. 1999) (per curiam) (the defendant’s
reliance on an attorney’s mistaken impression about the possible length of sentence was
insufficient to render a plea involuntary as long as the court informed the defendant of the
maximum possible sentence).        Thus, even if this court assumes that Carlson was
inadequately advised by counsel about the consequences of her plea and that he coerced
her into pleading guilty, she was properly advised by the court, on more than one

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occasion, that she was not required to plead guilty and that if she could not truthfully admit
to the criminal conduct that she should not go forward with her plea of guilty. See
Granados, 168 F.3d at 345 (the defendant’s reliance on an attorney’s mistaken impression
about the possible length of sentence was insufficient to render a plea involuntary as long
as the court informed the defendant of the maximum possible sentence). Therefore,
Carlson is entitled to no evidentiary hearing and no relief on this claim of ineffective
assistance of counsel because she is unable to show prejudice.      See Ledezma-Rodriguez,
423 F.3d at 836 (even if counsel’s performance was deficient, the defendant must still
prove prejudice).
              b.     Failure to be issued Miranda warnings
       Next, Carlson contends that her counsel was ineffective because she was not read
her Miranda rights. This contention lacks specificity and is indeed too vague to give the
court any context or provide any basis whatsoever justifying relief. However, suffice it
to say that, had the defendant not been read her Miranda rights prior to being subjected
to a custodial interrogation, any incriminating evidence obtained thereafter would have
been excluded at trial, having been obtained in violation of the Fifth Amendment privilege
against self-incrimination. Miranda v. Arizona, 384 U.S. 436, 444 (1966). As Carlson
has not provided the court with any details whatsoever, it is impossible for this court to
glean whether she is entitled to relief. Accordingly, this contention is denied.
              c.     Failure to advise of right to appeal
       Finally, the defendant argues her counsel was ineffective in failing to inform her of
her right to appeal. This contention fails for the same reason her first argument failed.
Even supposing that Carlson was inadequately advised by counsel about her right to an
appeal, the court cannot find that Carlson was prejudiced. See Ledezma-Rodriguez, 423
F.3d at 836 (even if counsel’s performance was deficient, the defendant must still prove

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prejudice). This is so because it is clear she was informed by the undersigned during her
sentencing of her right to appeal and the time limitations associated with her right to
appeal. Accordingly, this claim is also denied.


                             E. Certificate Of Appealability
      Defendant Carlson must make a substantial showing of the denial of a constitutional
right in order to be granted a certificate of appealability in this case. See Miller-El v.
Cockrell, 537 U.S. 322 (2003); Garrett v. United States, 211 F.3d 1075, 1076-77 (8th
Cir.), cert. denied, 531 U.S. 908 (2000); Mills v. Norris, 187 F.3d 881, 882 n.1 (8th Cir.
1999); Carter v. Hopkins, 151 F.3d 872, 873-74 (8th Cir.), cert. denied, 525 U.S. 1007
(1998); Ramsey v. Bowersox, 149 F.3d 749 (8th Cir. 1998), cert. denied, 525 U.S. 1166
(1999); Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997), cert. denied, 525 U.S. 834
(1998). “A substantial showing is a showing that issues are debatable among reasonable
jurists, a court could resolve the issues differently, or the issues deserve further
proceedings.” Cox, 133 F.3d at 569. Moreover, the United States Supreme Court
reiterated in Miller-El v. Cockrell that “‘[w]here a district court has rejected the
constitutional claims on the merits, the showing required to satisfy § 2253(c) is
straightforward: The petitioner must demonstrate that reasonable jurists would find the
district court’s assessment of the constitutional claims debatable or wrong.’” 537 U.S. at
338 (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)). The court determines that
Carlson’s petition does not present questions of substance for appellate review, and
therefore, does not make the requisite showing to satisfy § 2253(c). See 28 U.S.C. §
2253(c)(2); Fed. R. App. P. 22(b). Accordingly, with respect to Carlson’s claims, the
court shall not grant a certificate of appealability pursuant to 28 U.S.C. § 2253(c).



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                                 III. CONCLUSION
      Upon the foregoing, Renee Carlson’s pro se Motion To Vacate, Set Aside, Or
Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. No. 114) is denied in its entirety.
      IT IS SO ORDERED.
      DATED this 11th day of September, 2006.


                                               __________________________________
                                               MARK W. BENNETT
                                               CHIEF JUDGE, U. S. DISTRICT COURT
                                               NORTHERN DISTRICT OF IOWA




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